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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
_________________________________
                                  )
GABRIEL GARAVANIAN, et. al.       )
                                  )
               Plaintiffs,        )
                                  )
          v.                      )      CIVIL ACTION
                                  )      NO. 23-10678-WGY
JET BLUE AIRWAYS CORPORATION,     )
SPIRIT AIRLINES, INC.             )
                                  )
               Defendants.        )
                                  )
_________________________________)

YOUNG, D.J.                                            October 11, 2023

                                 ORDER

      The Defendant Airlines filed a motion for summary

judgment, Def.’s Mot. Summ. J., ECF No. 172, and the parties

have fully briefed the issue, Pl.’s Opp’n. Mot. Summ. J., ECF

No. 184; Def.’s Reply Opp’n. Mot. Summ. J., ECF No. 212.         This

Court held oral argument on October 4, 2023, and took the

parties’ arguments regarding the Plaintiffs’ standing under

advisement.

     After careful review, this Court DENIES the motion for

summary judgment, Def.’s Mot. Summ. J., ECF No. 172, with

respect to Plaintiffs Gabriel Garavanian (“G. Garavanian”) and

Timothy Niebor (“Niebor”).    This Court GRANTS the motion for

summary judgment, Def.’s Mot. Summ. J., ECF No. 172, with

respect to all other Plaintiffs as they lack standing under


                                  [1]
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Article III of the United States Constitution.       See Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560-61 (1992).

     G. Garavanian and Niebor both fly Spirit Airlines

(“Spirit”) regularly and allege they will be harmed by the lower

output and higher prices that may result from Spirit’s

acquisition by Jet Blue Airways (“JetBlue”).       See Pl. Niebor’s

Supp. Responses Interrogatories, ECF No. 175-66; Pl. G.

Garavanian’s Supp. Responses Interrogatories, ECF No. 175-43; G.

Garavanian Dep., ECF No. 175-42.     Each has standing to bring an

antitrust claim because they are “the type of person[s] the law

intends to protect against the harm of which [they] complain.”

Cia. Petrolera Caribe, Inc. v. Arco Caribbean, Inc., 754 F.2d

404, 408 (1st Cir. 1985) (citing Ozonoff v. Berzak, 744 F.2d

224, 227 (1st Cir. 1984)).

     Defendants’ motion for summary judgment, ECF No. 172,

is denied as to Plaintiffs G. Garavanian and Niebor, and

granted as to all others.    The Court welcomes amicus briefs

from the dismissed Plaintiffs, should they be inclined to

file them.   It is in the interest of justice that judgment

for the Defendants against the other Plaintiffs shall be

entered at once, per Rule 54(b), so that an immediate

appeal may be lodged.



     SO ORDERED.

                                  [2]
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                                           /s/ William G. Young_
                                              WILLIAM G. YOUNG
                                                    JUDGE
                                                   of the
                                               UNITED STATES1




1    This is how my predecessor, Peleg Sprague (D. Mass. 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 45 years.
                                  [3]
